
Hall, J.
Where the showing in support of a motion for a continuance was to the effect that the case had been tried before and carried by writ of error to the Supreme Court that the remitter had been entered on the minutes of the superior court only a few minutes before the case was called, and that, in consequence, the party applying for the continuance was wholly unprepared for trial; that he had two witnesses absent, one of whom was sick and the other had no notification to be present, though both of them had been subpoenaed previous to the former trial; and that he expected to prove by them that the maker of deed which was in question was incompetent to execute it at the time it purported to have been made and delivered, such a showing was complete, áind it was error to refuse a contiuance and force the case to a hearing at once.
Judgment reversed.
